
ON RECONSIDERATION, PURSUANT TO REMAND
PER CURIAM.
The judgment of this court entered on February 24, 1976 in Strozier v. State, 327 So.2d 839 (Fla. 3d DC A 1976), was reviewed by the Supreme Court of Florida upon petition for certiorari which was treated as a petition for writ of habeas corpus, by appellant Charles Lee Strozier, whereupon the Supreme Court granted appellant’s petition and remanded the cause, for further proceedings consistent with its recent decision in Clark v. State, 363 So.2d 331 (1978).
Now, therefore on reconsideration of the appeal in light of Clark, our judgment affirming the trial court is vacated, and the judgment of the trial court is hereby reversed on the authority of Clark v. State, supra. The cause is remanded to the circuit court for a new trial.
It is so ordered.
